
FRANK D. UPCHURCH, Jr., Judge.
REVERSED and REMANDED but, as in Gee v. State, - So.2d - No. 80-336 (Fla. 5th DCA February 11,1981), we certify the following question to the Florida Supreme Court:
CAN AN APPELLATE COURT APPLY THE HARMLESS ERROR DOCTRINE, SECTION 924.33 AND SECTION 59.041, FLORIDA STATUTES (1979), TO THE FAILURE OF A TRIAL COURT TO *424GIVE THE JURY INSTRUCTION REQUIRED BY RULE 3.390(a), FLORIDA RULES OF CRIMINAL PROCEDURE, IF THE APPELLANT’S GUILT IS CLEARLY ESTABLISHED AND THE APPELLATE COURT DETERMINES THE ERROR COULD NOT HAVE AFFECTED THE VERDICT?
ORFINGER and COWART, JJ., concur.
